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UNITED STATES DIsTRICT COURT F"£D BV »l\i#?€$~"-- D-'l
WESTERN DISTRICT 0F TENNESSEE
WESTERN DIVISION 95 JUH '“l PH 5= l 7

 

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("LEPK (, L)'. :$ DlST. CT.
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JANET SHIRLEY, as Surviving Spouse, and for
the estate of JERRY SHIRLEY, Deceased,
JASON SHIRLEY, JAYANN SHIRLEY

And JANA SHIRLEY, children of Deceased,
JERRY SHIRLEY,

Plaintiffs,

v. CASE NO.: 03 2679 B P

THE GOODYEAR TIRE & RUBBER COMPANY,

An Ohio corporation, G()ODYEAR DUNLOP TIRES

OF N()RTH AMERICA, LTD., an Ohio Limited

Liability Company, SUMI’I`OMO RUBBER INDUSTRIES, INC.,
a foreign Corporation, and DUNLOP TIRE CORPORATION,

a Delaware Corporation,

Defendants

 

'[`PRGPOSE-D] OR])ER GRANTING
THE GOODYEAR TIRE & RUBBER COMPANY’S AND G()ODYEAR DUNLOP
TIRES OF NORTH AMERICA, LTD’S
MOTION FOR LEAVE TO FILE A REPLY TO PLAINTIFFS’ OPPOSITION TO
DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

 

This cause came to be heard upon the Motion of Def`endants, The Goodyear Tire &
Rubber Company ("Goodyear"), and Goodyear Dunlop Tires of North Arnerica, Ltd.
(“GDTNA”), for leave to reply to Plaintiffs’ Opposition to Defendants Goodyear’s and
GDTNA’s Motion for Summary Judgrnent. For those reasons set forth in Defendants’
Memorandum of Law in support of its Motion, the Court finds that the Motion is well taken and

should be granted The Court also finds that Plaintiffs to do not oppose the Motion.

ad FHCF °“

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lT IS, THEREFORE, ORDERED ADJUDGED AND DECREED that GOodyear’S and

GDTNA’s Motion for leave to file a reply to Plaintiffs’ Opposition to Defendants’ Motion for

Summary Judgment be GRANTED, and that Defendants shall have two (2) weeks from the date

this Order is docketed to file its reply.

 

 

 

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 100 in
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Honorable J. Breen
US DISTRICT COURT

